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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
IN RE: U.S. OFFICE OF                )
PERSONNEL MANAGEMENT                 )
DATA SECURITY BREACH                 )
LITIGATION                           )     Misc. Action No. 15-1394 (ABJ)
____________________________________)      MDL Docket No. 2664
                                     )
This Document Relates To:            )
                                     )
ALL CASES                            )
                                     )
____________________________________)

                             ORDER ON ATTORNEYS’ FEES,
                           EXPENSES, AND SERVICE AWARDS

       Before the Court is Plaintiffs’ motion for fees, costs, and service awards, seeking

attorneys’ fees in the amount of $8,545,537.35, costs and expenses in the amount of

$174,481.88, and a service award to each named plaintiff of $5,000.              Pls.’ Mot. for

Attorneys’ Fees, Expenses, and Service Awards [Dkt. # 197]. Defendants filed a response

to the motion, which included a notice of the parties’ agreement on the issue of attorneys

fees and costs and set forth the government’s opposition to service awards for the named

plaintiffs. Defs.’ Response to Pls.’ Mot. [Dkt. # 201]; Notice of Agreement [Dkt. # 201-1].

Plaintiffs replied to the motion. Reply in Supp. of Pls.’ Mot. [Dkt. # 203].

       Upon consideration of these submissions and the entire record before the Court, and for

the reasons stated at the Fairness Hearing held on this date, the Court finds that the attorneys’

fees and costs and expenses, as agreed by the parties, are fair and reasonable pursuant to

paragraph VI(A) of the Settlement Agreement and Federal Rule of Civil Procedure

23(e)(2)(C)(iii), (h), and that a nominal service award is appropriate. Accordingly, it is

ORDERED that plaintiffs’ motion is GRANTED IN PART and DENIED IN PART.
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       It is ORDERED that in, light of the agreement of the parties, Notice of Agreement

[Dkt. # 201-1], plaintiffs are awarded $6,977,347.55 in attorneys’ fees and $133,333.06 in costs

and expenses.

       It is FURTHER ORDERED that each of the thirty-six named plaintiffs is awarded a

service award in the amount of $1,000.00.

       SO ORDERED.




                                            AMY BERMAN JACKSON
                                            United States District Judge
DATE: October 14, 2022




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